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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


THE FIRST NATIONAL BANK OF
JEANERETTE
     Plaintiff                                       *      CIVIL ACTION NO. 22-545

VERSUS                                               *      SECTION:

M/V MS ZIL, its engines,                             *      JUDGE
tackle, apparel, furniture, equipment, spare
parts, and all other necessaries thereunto           *
appertaining and belonging, in rem
        Defendant                                    *      MAGISTRATE

                                                     *      ADMIRALTY
                                                            Pursuant to Rule 9(h) of the Federal
                                                     *      Rules of Civil Procedure

*      *       *      *       *      *       *       *

                                  VERIFIED COMPLAINT

       The plaintiff, The First National Bank of Jeanerette (“First National”), submits the

following Verified Complaint.

                                         JURISDICTION

                                                 1

       This is an admiralty and maritime law claim within the meaning of Rule 9(h), of the Federal

Rules of Civil Procedure. First National brings this action pursuant to 46 U.S.C. § 31325, et seq.
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                                             PARTIES

                                                  2.
        Plaintiff, First National, is incorporated pursuant to the laws of the State of Louisiana with

its principal place of business in St. Mary Parish, Louisiana.

                                                  3.

        The vessel, MS ZIL, an in rem defendant, is an offshore service vessel, bearing Official

Number 1265736 with its engines, tackle, apparel, furniture, equipment and all other necessaries

thereunto appearing and belonging (the “MS ZIL”) which is currently located at Coral Marine

Services, LLC, 8314 Highway 182 Morgan City, La. 70380 (stored component parts of the vessel)

and 1458 Old Spanish Trail, Berwick, La. 70342 (vessel and some of the equipment) and therefore

subject to the jurisdiction of this Court.

                                   FACTUAL ALLEGATIONS

                                                  4.

        The MS ZIL is presently owned by Washburn Marine Towing, LLC, a Louisiana limited

liability company domiciled in the Parish of St. Mary, State of Louisiana, and said vessel is now

afloat in St. Mary Parish, Louisiana, within the Eastern District of Louisiana and the jurisdiction

of this Honorable Court.
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                                                5.
       On the December 15, 2017, Washburn Marine Towing, LLC, as owner of the MS ZIL,

executed a promissory note in the sum of FIVE HUNDRED THOUSAND AND NO/100

($500,000.00) DOLLARS payable to the order of First National. Said note bears interest at the rate

of 5.650% per annum and is payable as one payment of all outstanding principal plus all accrued

unpaid interest on December 15, 2018, and a copy of said promissory note is attached hereto and

made a part hereof and is identified as Exhibit “A”. The Note described as Exhibit “A” was

amended by various extension agreements and change in term agreements with a payment deadline

of November 30, 2020, attached hereto and incorporated herein as Exhibit “B” in globo. Washburn

Marine Towing, LLC was the guarantor of a promissory note by maker, Washburn Marine Towing,

LLC, dated December 29, 2017, in the sum of ONE MILLION THREE HUNDRED THOUSAND

AND NO/100 ($1,300,000.00) DOLLARS payable to the order of First National. Said note bears

interest at 5.650% per annum and is payable upon demand or if no demand is made, in one payment

of all outstanding principal plus all accrued interest on December 29, 2018, and a copy of said

promissory note is attached hereto and made a part hereof and is identified as Exhibit “C”. The

Note described as Exhibit “C” was amended by various extension agreements and change in term

agreements with a payment deadline of November 30, 2020, attached hereto and incorporated

herein as Exhibit “D” in globo. The Commercial Guaranty and Commercial Security Agreement
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executed by Washburn Marine Towing as guarantor of Washburn Marine Shipyard in favor of

First National is attached hereto and made a part hereof and is identified as Exhibit “E”.

                                                6.

       The Notes described as Exhibit “A” and “B” secured by a First Preferred Ship Mortgage

executed by Washburn Marine Towing, LLC in favor of First National, as mortgagee, which said

First Preferred Ship Mortgage grants a First Preferred Maritime Mortgage and Lien on the vessel

MS ZIL, dated August 17, 2017, which mortgage is attached hereto and made a part hereof as

Exhibit “F”.

                                                7.

       The above referenced Preferred Maritime Mortgage attached hereto as Exhibit “F”, was

duly filed for record with the United States Coast Guard at the National Vessel Documentation

Center, said mortgage dated August 17, 2016 was duly recorded at said office on August 19, 2016

in batch number 38471500 document id 3. The records of the United States Coast Guard, National

Vessel Documentation Center show the name of the vessel, the names of the parties to the

mortgage, the time and the date of the reception of the mortgage, the interest in the vessel

mortgaged, the amount and date of maturity of the mortgage in accordance with 46 U.S.C. § 31301,

et seq. A Certificate of Documentation of the MS ZIL is attached hereto as Exhibit “G”.

                                                8.
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       At all times, pertinent hereto, the First Preferred Mortgage was recorded pursuant to the

provisions of 46 U.S.C. § 31321, et seq and said mortgage has not been discharged.

                                                 9.

       As of March 2, 2022, there remains due an unpaid balance on the notes attached hereto as

Exhibit “A” and “B” in the amount of ONE MILLION NINE HUNDRED SIXTY-FOUR

THOUSAND SEVEN HUNDRED NINETY-FIVE AND 46/100 ($1,964,795.46) DOLLARS,

together with interest from March 3, 2022 at the rate of $304.78 per day, until paid, together with

all expenses, cost and attorney’s fees as provided for in said note.

                                                 11.
       After amicable demand, the above amounts remain past due and owing, therefore, pursuant

to the terms of the Preferred Ship Mortgage attached hereto, First National is entitled to all relief

provided for in said mortgage and by law.

       WHEREFORE, Plaintiff, First National, respectfully demands judgment, and pursuant to

Supplemental Admiralty Rules, prays as follows:

       A. That process according to the practice of this Court be issued against the M/V MS ZIL,

           its engines, tackle, apparel, furniture, equipment, spare parts, and all other necessaries

           thereunto appertaining and belonging be arrested and condemned and sold to pay the

           demands and claims aforesaid, with interest, costs and attorney’s fees, and to pay all
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   other amounts required to be paid by the mortgagor to First National under the

   aforementioned Preferred Mortgage;

B. That the Preferred Mortgage attached hereto as Exhibit “D” be declared valid and a

   First Preferred Lien upon the M/V MS ZIL, its engines, tackle, apparel, etc., and all

   other necessaries thereto belonging and appertaining in said Preferred Mortgage

   described, prior and superior to the interest, liens or claims of any and all other persons,

   firms, or entities whatsoever, except such persons, firms or entities as may hold

   superior preferred liens on the said vessel;

C. That any and all other persons, firms or entities claiming any interest in the M/V MS

   ZIL, are forever barred and foreclosed of and from all right or equity or redemption or

   claim of, in, or to the said M/V MS ZIL, its engines, tackle, apparel, etc., and all other

   necessaries thereto belonging and appertaining, in every port thereof;

D. That this Honorable Court shall direct the manner in which actual notice of the

   commencement of this suit shall be given by First National to the master, or other

   ranking officers or caretaker of the M/V MS ZIL and to any persons, firms or entity

   who have recorded a notice of claim of any discharge lien upon the vessel, as provided

   in 42 U.S.C. § 31325(d)(1); and

E. For all legal and equitable relief.
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                             Respectfully submitted;

                             DUVAL, FUNDERBURK, SUNDBERY,
                                 RICHARD & WATKINS

                             By: /s/ Kathryn W. Richard_________________
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